Case 1:20-cv-21641-MGC Document 7 Entered on FLSD Docket 04/22/2020 Page 1 of 12



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 1:20-cv-21641-MGC

  CAFE INTERNATIONAL HOLDING
  COMPANY LLC, individually and
  on behalf of all others similarly situated,

                 Plaintiff,

  v.

  CHUBB LIMITED and WESTCHESTER
  SURPLUS LINES INSURANCE COMPANY,

              Defendants.
  _______________________________________/

                        NOTICE OF FILING PROPOSED SUMMONSES

         Plaintiff Cafe International Holding Company LLC, by and through its undersigned

  counsel, hereby files the following Summones to be issued for service of process by the Clerk of

  the U.S. District Court for the Southern District of Florida:

         1. Chubb Limited – New York

         2. Chubb Limited – Delaware

         3. Chubb Limited – Philadelphia

         4. Chubb Limited – Virginia

         5. Chubb Limited - Florida

  Dated: April 22, 2020                            PODHURST ORSECK, P.A.

                                                   /s/ Steven C. Marks
                                                   Steven C. Marks (Fla. Bar. No. 516414)
                                                   Aaron S. Podhurst (Fla. Bar. No. 63606)
                                                   Lea P. Bucciero (Fla. Bar. No. 84763)
                                                   Matthew P. Weinshall (Fla. Bar. No. 84783)
                                                   Kristina M. Infante (Fla. Bar. No. 112557)
                                                   SunTrust International Center
                                                   One Southeast 3rd Ave, Suite 2300
Case 1:20-cv-21641-MGC Document 7 Entered on FLSD Docket 04/22/2020 Page 2 of 12



                                       Miami, Florida 33131
                                       Phone: (305) 358-2800
                                       Fax: (305) 358-2382
                                       smarks@podhurst.com
                                       apodhurst@podhurst.com
                                       lbucciero@podhurst.com
                                       mweinshall@podhurst.com
                                       kinfante@podhurst.com


                                       BOIES SCHILLER FLEXNER LLP

                                       /s/ Stephen N. Zack
                                       Stephen N. Zack (Fla. Bar. No. 145215)
                                       Bruce Weil (Fla. Bar. No. 816469)
                                       James Lee (Fla. Bar. No. 67558)
                                       Marshall Dore Louis (Fla. Bar. No. 512680)
                                       100 Southeast 2nd Street, Suite 2800
                                       Miami, FL 33131
                                       Tel: (305) 539-8400
                                       Fax: (305) 539-1307
                                       szack@bsfllp.com
                                       bweil@bsfllp.com
                                       jlee@bsfllp.com
                                       mlouis@bsfllp.com

                                       David Boies (pro hac vice forthcoming)
                                       Nick Gravante (pro hac vice forthcoming)
                                       Alex Boies (pro hac vice forthcoming)
                                       55 Hudson Yards, 20th Floor
                                       New York, NY 10001
                                       Tel: (212) 446-2320
                                       dboies@bsfllp.com
                                       ngravante@bsfllp.com
                                       aboies@bsfllp.com




                                       2
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida

 CAFE INTERNATIONAL HOLDING COMPANY LLC,                               )
individually and on behalf of all other similarly situated,            )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                            Civil Action No. 1:20-cv-21641
                                                                       )
 CHUBB LIMITED and WESTCHESTER SURPLUS                                 )
       LINES INSURANCE COMPANY,                                        )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) CHUBB LIMITED
                                           By Serving its, President, Vice-President or Corporate Officer
                                           Chubb Executive Offices
                                           1133 Avenue of the Americas
                                           New York, NY 10036



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Steven C. Marks, Esq.
                                           Podhurst Orseck, P.A.
                                           One S.E. 3rd Avenue
                                           Suite 2300
                                           Miami, FL 33130
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:
                                                                                            Signature of Clerk or Deputy Clerk
     Case 1:20-cv-21641-MGC Document 7 Entered on FLSD Docket 04/22/2020 Page 4 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:20-cv-21641

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
    Case 1:20-cv-21641-MGC Document 7 Entered on FLSD Docket 04/22/2020 Page 5 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida

 CAFE INTERNATIONAL HOLDING COMPANY LLC,                             )
individually and on behalf of all other similarly situated,          )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 1:20-cv-21641
                                                                     )
 CHUBB LIMITED and WESTCHESTER SURPLUS                               )
       LINES INSURANCE COMPANY,                                      )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) CHUBB LIMITED
                                           By Serving its Registered Agent for Chubb Group Holding Inc.
                                           a wholly owned subsidiary of Chubb Limited
                                           The Corporation Trust Company
                                           Corporation Trust Center 1209 Orange Street
                                           Wilmington, DE 19801

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Steven C. Marks, Esq.
                                           Podhurst Orseck, P.A.
                                           One S.E. 3rd Avenue
                                           Suite 2300
                                           Miami, FL 33130
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
     Case 1:20-cv-21641-MGC Document 7 Entered on FLSD Docket 04/22/2020 Page 6 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:20-cv-21641

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
    Case 1:20-cv-21641-MGC Document 7 Entered on FLSD Docket 04/22/2020 Page 7 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida

 CAFE INTERNATIONAL HOLDING COMPANY LLC,                             )
individually and on behalf of all other similarly situated,          )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 1:20-cv-21641
                                                                     )
 CHUBB LIMITED and WESTCHESTER SURPLUS                               )
       LINES INSURANCE COMPANY,                                      )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) CHUBB LIMITED
                                           By Serving Paul Bech, Esq. Associate General Counsel
                                           Chubb
                                           436 Walnut Street
                                           Philadelphia, PA 19106-3703



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Steven C. Marks, Esq.
                                           Podhurst Orseck, P.A.
                                           One S.E. 3rd Avenue
                                           Suite 2300
                                           Miami, FL 33130
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
     Case 1:20-cv-21641-MGC Document 7 Entered on FLSD Docket 04/22/2020 Page 8 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:20-cv-21641

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
    Case 1:20-cv-21641-MGC Document 7 Entered on FLSD Docket 04/22/2020 Page 9 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida

 CAFE INTERNATIONAL HOLDING COMPANY LLC,                               )
individually and on behalf of all other similarly situated,            )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                            Civil Action No. 1:20-cv-21641
                                                                       )
 CHUBB LIMITED and WESTCHESTER SURPLUS                                 )
       LINES INSURANCE COMPANY,                                        )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) CHUBB LIMITED
                                           By Serving its President, Vice President or Corporate Officer
                                           600 Independence Parkway
                                           Chesapeake, VA 23320




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Steven C. Marks, Esq.
                                           Podhurst Orseck, P.A.
                                           One S.E. 3rd Avenue
                                           Suite 2300
                                           Miami, FL 33130
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:
                                                                                            Signature of Clerk or Deputy Clerk
    Case 1:20-cv-21641-MGC Document 7 Entered on FLSD Docket 04/22/2020 Page 10 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:20-cv-21641

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
   Case 1:20-cv-21641-MGC Document 7 Entered on FLSD Docket 04/22/2020 Page 11 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida

 CAFE INTERNATIONAL HOLDING COMPANY LLC,                               )
individually and on behalf of all other similarly situated,            )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                            Civil Action No. 1:20-cv-21641
                                                                       )
 CHUBB LIMITED and WESTCHESTER SURPLUS                                 )
       LINES INSURANCE COMPANY,                                        )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) CHUBB LIMITED
                                           By Serving its, President, Vice-President or Corporate Officer
                                           9130 S. Dadeland Blvd.
                                           Miami, FL 33156




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Steven C. Marks, Esq.
                                           Podhurst Orseck, P.A.
                                           One S.E. 3rd Avenue
                                           Suite 2300
                                           Miami, FL 33130
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:
                                                                                            Signature of Clerk or Deputy Clerk
    Case 1:20-cv-21641-MGC Document 7 Entered on FLSD Docket 04/22/2020 Page 12 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:20-cv-21641

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
